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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

SILVERGATE PHARMACEUTICALS, INC.,                     )
                                                      )
                     Plaintiff,                       )
                                                      )
      v.                                              )    C.A. No. _______________
                                                      )
AMNEAL PHARMACEUTICALS LLC,                           )
                                                      )
                     Defendant.                       )

                      PLAINTIFF’S FED. R. CIV. P. 7.1 STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, plaintiff states that it has no parent corporation and that

no publicly held corporation owns 10% or more of its stock.


                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                   /s/ Jack B. Blumenfeld
OF COUNSEL:                                        Jack B. Blumenfeld (#1014)
                                                   Megan E. Dellinger (#5739)
Wendy L. Devine                                    1201 North Market Street
Kristina M. Hanson                                 P.O. Box 1347
WILSON SONSINI GOODRICH & ROSATI                   Wilmington, DE 19899
One Market Plaza, Spear Tower, Suite 3300          (302) 658-9200
San Francisco, CA 94105                            jblumenfeld@mnat.com
(415) 947-2000                                     mdellinger@mnat.com

Natalie J. Morgan                                  Attorneys for Plaintiff Silvergate
WILSON SONSINI GOODRICH & ROSATI                   Pharmaceuticals, Inc.
12235 El Camino Real, Suite 200
San Diego, CA 92130-3002
(858) 350-2300

Jamie Y. Otto
WILSON SONSINI GOODRICH & ROSATI
650 Page Mill Road
Palo Alto, CA 94304
(650) 943-9300

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